                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF ILLINOIS
                             EASTERN DIVISION

Kove IO, Inc.,                         Civil Action No. 1:18-cv-08175

                     Plaintiff,        Hon. Rebecca R. Pallmeyer
                                       Hon. Sheila M. Finnegan,
       vs.                             Magistrate Judge
Amazon Web Services, Inc.,
                                       Jury Trial Demanded
                     Defendant.


   DECLARATION OF TAYLOR N. MAUZE IN SUPPORT OF KOVE IO, INC.’S
         MOTION TO COMPEL DISCOVERY OF ANDREW JASSY
I, Taylor N. Mauze, declare as follows:
         1.        I am an attorney at Reichman Jorgensen Lehman & Feldberg LLP, counsel for

Plaintiff Kove IO, Inc. (“Kove”) in the above-referenced action. I am admitted to the State Bar of

Texas. I have been admitted to appear in this case pro hac vice. I make this declaration of my

own personal knowledge and, if compelled to testify, I could and would testify competently

thereto. I submit this declaration in support of Kove’s Motion to Compel Discovery of Andrew

Jassy.

         2.        Attached as Exhibit 1 is a true and correct copy of excerpts of the deposition

testimony of Allan Vermeulen, taken remotely in the above-captioned action on June 4, 2021.

         3.        Attached as Exhibit 2 is a true and correct copy of How Andy Jassy, Amazon’s Next

C.E.O., Was a Brain Double for Jeff Bezos, by Karen Weise and Daisuke Wakabayashi, published

in the New York Times on February 3, 2021. The article was last accessed on May 6, 2021 and is

available     at      https://www.nytimes.com/2021/02/03/technology/andy-jassy-amazon-ceo-jeff-

bezos.html.

         4.        Attached as Exhibit 3 is a true and correct copy of Meeting Notes, bearing

production number AMZ_KOVE_000444305, with metadata indicating a date of March 31, 2006

and a file name of JeffBS3ReviewMeetingSummary-12-7-04.doc, produced under custodian

Amazon Wiki.

         5.        Attached as Exhibit 4 is a true and correct copy of an e-mail from Jaime

Cardenas-Navia, counsel for Kove, to counsel for AWS, dated March 8, 2021.

         6.        Attached as Exhibit 5 is a true and correct copy of a letter from Elizabeth Bernard,

counsel for AWS, to counsel for Kove, dated March 12, 2021.

         7.        Attached as Exhibit 6 is a true and correct copy of a letter from Jaime

Cardenas-Navia, counsel for Kove, to counsel for AWS, dated April 14, 2021.


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       8.     Attached as Exhibit 7 is a true and correct copy of a letter from Adam Adler,

counsel for Kove, to counsel for AWS, dated May 7, 2021.

       9.     Attached as Exhibit 8 is a true and correct copy of a letter from Adam Adler,

counsel for Kove, to counsel for AWS, dated May 18, 2021.

       10.    Attached as Exhibit 9 is a true and correct copy of a letter from Jeffrey Saltman,

counsel for AWS, to counsel for Kove, dated April 19, 2021.

       11.    Attached as Exhibit 10 is a true and correct copy of a letter from Elizabeth Bernard,

counsel for AWS, to counsel for Kove, dated May 11, 2021.

       12.    Attached as Exhibit 11 is a true and correct copy of a letter from Jeffrey Saltman,

counsel for AWS, to counsel for Kove, dated June 2, 2021.

       13.    Attached as Exhibit 12 is a true and correct copy of an e-mail from Elizabeth

Bernard, counsel for AWS, to counsel for Kove, dated June 1, 2021.

       14.    Attached as Exhibit 13 is a true and correct copy of a letter from Elizabeth Bernard,

counsel for AWS, to counsel for Kove, dated June 2, 2021.

       15.    Attached as Exhibit 14 is a true and correct copy of a letter from Elizabeth Bernard,

counsel for AWS, to counsel for Kove, dated June 8, 2021.

       16.    Attached as Exhibit 15 is a true and correct copy of a letter from Elizabeth Bernard,

counsel for AWS, to counsel for Kove, dated June 18, 2021.

       17.    Attached as Exhibit 16 is a true and correct copy of excerpts of AWS’s Response

and Objections to Kove’s Sixth Set of Requests for Production of Documents and Things

(Nos. 134-183), dated March 8, 2021.

       18.    Attached as Exhibit 17 is a true and correct copy of an e-mail chain titled “Re: S3

Daily Metrics” from August 2, 2007 between Jeff Bezos, Andrew Jassy, Navneet Joneja, the s-3




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metrics e-mail reflector, James Adkins, and Charlie Bell, bearing production number

AMZ_KOVE_000225321.

        19.   Attached as Exhibit 18 is a true and correct copy of an e-mail chain titled “Re: S3

Daily Metrics” from October 31, 2007 between Jeff Bezos, Andrew Jassy, Alyssa Henry, s-3

metrics, Charlie Bell, and James Adkins, bearing production number AMZ_KOVE_000225251.

        20.   Attached as Exhibit 19 is a true and correct copy of a blog article titled 15 Years of

AWS Blogging! By Jeff Barr, published on November 11, 2019. This article is available at

https://aws.amazon.com/blogs/aws/15-years-of-aws-blogging and was last accessed on June 23,

2021.

        21.   Attached as Exhibit 20 is a true and correct copy of an e-mail chain titled “FW:

blingee getting battered” dated September 2007 between various Amazon employees, including

Andrew Jassy, bearing production number AMZ_KOVE_000091007.

        22.   Attached as Exhibit 21 is a true and correct copy of an e-mail thread titled “FW:

SEA traffic drop for S3 for today (Friday)” dated September 26, 2007 between various employees

of Amazon, including Andrew Jassy, bearing production number AMZ_KOVE_000091049.

        23.   Attached as Exhibit 22 is a true and correct copy of an e-mail thread titled “Re:

Announcing Amazon DynamoDB” dated January 18, 2012 between various Amazon employees,

including Andrew Jassy, bearing production number AMZ_KOVE_000091831.

        24.   Attached as Exhibit 23 is a true and correct copy of In the 15 years since its launch,

Amazon Web Services transformed how companies do business, by Katherine K. Long, published

March 15, 2021. The article is available at https://techxplore.com/news/2021-03-years-amazon-

web-companies-business.html and was last accessed on June 23, 2021.




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       25.     Attached as Exhibit 24 is a true and correct copy of excerpts of the deposition of

Jason Sorenson, taken in the above-captioned action in Seattle, Washington on January 29, 2020.

       26.     Attached as Exhibit 25 is a true and correct copy of AWS’s Second Supplemental

and Amended Response and Objections to Kove’s Sixth Set of Interrogatories (No. 18), served

March 26, 2021.

       I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct to the best of my knowledge.

       Executed in Marshall, Texas on the 25th day of June, 2021.

                                      /s/ Taylor N. Mauze

                                     Taylor N. Mauze (pro hac vice)
                                     REICHMAN JORGENSEN LEHMAN & FELDBERG
                                     LLP
                                     100 Marine Parkway, Suite 300
                                     Redwood Shores, CA 94065




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                                CERTIFICATE OF SERVICE

       I hereby certify that on the 25th day of June, 2021, I electronically filed the foregoing

document with the clerk of the court for the U.S. District Court, Northern District of Illinois,

Eastern Division, using the electronic case filing system of the court. The electronic case filing

system sent a “Notice of Electronic Filing” to the attorneys of record who have consented in

writing to accept this Notice as service of this document by electronic means.

                                                 /s/ Taylor N. Mauze
                                                   Taylor N. Mauze




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